                             Case 1:20-po-08058                                            ECF No. 1                           filed 03/10/20   PageID.1   Page 1 of 2

                                                                              CVB Location Code
    United States District Court
         Violation Notice                                                    EW3

Violation Number                      Officer Name                                 Officer No.

FBCC003N                              GONINAN                                      2181




                                                                                                                         FBCC003N
YOU ARE CHARGED WITH THE FOLLOWING VIOLATION
Date and Time of Offense                          Offense

01/17/2020                   14:43                FED        36CFR             26158G

Place of Offense

BLEWITT PASS SNOPARK

Offense Description: Factual Basis for Charge                                                                HAZMAT

PARKING IN VIOLATION OF POSTED INSTRUCTIONS, FAILURE TO DISPLAY VALID
SNO PARK PERMIT



DEFENDANT INFORMATION                                     Phone: (                   )

Last Name                                                             First Name                                     M.I.
LEE                                                                   JENNIFER                                       S

Street Address



City                                         State          Zip                          Date of Birth (mm/dd/yyyy)


Drivers License No.                   CDL          D.L.               Social Security No.



                                          Race                        Hair   Eyes        Height              Weight
    Adult    Juvenile Sex     M       F
                                                                                              '       ''
VEHICLE                VIN                                                                                       CMV

Tag No.                                   State       Year            Make/Model         PASS        Color



A            IF BOX A IS CHECKED, YOU B                           X     IF BOX B IS CHECKED, YOU MUST
             MUST APPEAR IN COURT.                                      PAY AMOUNT INDICATED BELOW
                                                                        OR APPEAR IN COURT.
              SEE INSTRUCTIONS (opposite).
                                                                        SEE INSTRUCTIONS (opposite).


                                                             $50.00                                Forfeiture Amount
                                                             $30.00                                Processing Fee

                       PAY THIS AMOUNT                       $80.00                           Total Collateral

                                  YOUR COURT DATE
      (If no court appearance date is shown, you will be notified of your appearance date by mail.)
Court Address                                                                 Date (mm/dd/yyyy)

U.S. Magistrate, Federal Court House, 25 So. 3rd S
                                                                                             03/13/2020
                                                                                             Time (hh:mm)
Yakima, WA 98901
                                                                                             11:00
My signature signifies that I have received a copy of this violation notice. It is not an admission of guilt. I
promise to appear for the hearing at the time and place instructed or pay the total collateral due.

X Defendant

       Previous edition is obsolete                Original - CVB Copy                            FS-5300-4 (7/05)
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FBCC003N
                          STATEMENT OF PROBABLE CAUSE
                        (For issuance of an arrest warrant or summons)

I state that on        January 17, 2020           while exercising my duties as a law
officer in the                      Eastern                   District of               WA



   Pursuant to 16USC 551: :




   The foregoing statement is based upon:
                                  MY PERSONAL OBSERVATION

   I declare under penalty of perjury that the information which I have set forth above and
   on the face of this violation notice is true and correct to the best of my knowledge.



   Executed                   January 17, 2020
                              Date (mm/dd/yyyy)              Officer's Signature


       Probable cause has been stated for the issuance of a




Executed on:
                              Date (mm/dd/yyyy)              U.S. Magistrate Judge

HAZMAT = Hazardous material involved in incident; PASS = 9 or more passenger vehicle;
CDL = Commercial drivers license;   CMV = Commercial vehicle involved in incident
